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                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE SOUTHERN DISTRICT OF ILLINOIS

UNITED STATES OF AMERICA,

Plaintiff,

v.

ANTHONY J. DUVERNAY, et al.,

Defendant.                                                No. 07-30136-DRH

                                      ORDER

HERNDON, Chief Judge:

             Before the Court is a motion to continue jury trial filed by Anthony J.

Duvernay (Doc. 471). Defendant Duvernay requests that the trial setting of June 1,

2010 be continued as he is currently negotiating a plea with the Government but

believes that the negotiations will not be completed by the scheduled trial date. The

parties state that they are confident that the matter can be resolved and avoid trial

if they are given additional time. The Government does not object to the motion.

The Court, being fully advised in the premises, finds that the trial should be

continued in order to allow Defendant additional time in which to conclude plea

negotiations with the Government.

             The Court GRANTS Defendant Duvernay’s motion to continue jury trial

(Doc. 471). The Court CONTINUES the trial scheduled for June 1, 2010 until July

6, 2010 at 9:00 a.m. The continuance of trial applies to all non-moving Defendants

as well. United States v. Baker, 40 F.3d 154, 159 (7th Cir. 1994) (“‘Under §

3161(h)(7), the excludable delay of one defendant may be ascribed to all
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defendants in the same case, absent severance.’”)(quoting United States v.

Tanner, 941 F.2d 574, 580 (7th Cir. 1991), cert. denied, 502 U.S. 1102, 112

S.Ct. 1190, 117 L.Ed. 2d 432 (1992)).

             In continuing the trial, the Court notes that one of the co-defendants

Jesus Manuel Saavedra, remains a fugitive. Saavedra is still at large and has not yet

been arraigned. Further, no motion for severance of the remaining defendants has

been filed or granted in this case, meaning all Defendants adhere to the same Speedy

Trial Act count. Therefore, in actuality and the state of the law is that the Speedy

Trial “clock” does not begin to run until the last co-defendant is arraigned. In this

case, as there is one fugitive, the 70-day window for conducting this trial has not yet

come into play under the Speedy Trial Act. See United States v. Larson, 417 F.3d

741, 745 n.1 (7th Cir. 2005) (“In the typical joint trial, the Speedy Trial clock

begins when the last co-defendant is arraigned.”) (citing United States v.

Baskin-Bey, 45 F.3d 200, 203 (7th Cir. 1995)); Henderson v. United States,

476 U.S. 321, 323 n.2 (1986); 18 U.S.C. § 3161(h)(6); United States v.

Souffront, 338 F.3d 809, 835 (7th Cir. 2003) (The Court found that the

seventy-day clock commenced the day a fugitive-also the final co-defendant in

the case -was arraigned). Since the Speedy Trial clock has not begun to run, there

is no need to account for exclude time due to trial delays, such as when a trial is

continued.

             However, in the alternative to finding that the Speedy Trial clock has yet


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to commence, the Court finds that the reasons stated in the motion to continue

justify reasons for granting a continuance and excluding time under the Speedy Trial

Act. The Court finds that pursuant to 18 U.S.C. § 3161(h)(7)(A), the ends of justice

served by the granting of such a continuance outweigh the best interests of the public

and all Defendants in a speedy trial . To force a Defendant to trial on a case that

appears to have a great potential to resolve amicably would constitute a miscarriage

of justice. Therefore, the Court alternatively finds reasons for granting a continuance

as sought in the motion (Doc. 471). The Court hereby CONTINUES the trial as to

all Defendants scheduled for June 1, 2010 until July 6, 2010 at 9:00 a.m. The

time from the date the motion was filed, May 21, 2010, until the date on which the

trial is rescheduled, July 6, 2010, is excludable for purposes of a speedy trial.

             Consistent with this alternative finding, the Court also notes that

Defendant Duvernay, as well as the remaining Defendants Thomas J.Sellers and

Raul Ricardo Teran, were previously given twenty-one (21) days from the date of

their arraignment in which to file pre-trial motions and complete discovery.

According to a recent Supreme Court decision, Bloate v. United States, No. 08-

728, – S. Ct. –, 2010 WL 7576600, at * 11 (2010), delays resulting from pre-trial

motion preparation are not automatically excludable under 18 U.S.C. § 3161(h)(7).

See Bloate, 2010 WL 757660, at * 5.         In light of the recent decision, the Court

finds that the time granted to Defendants for preparation of pretrial motions and

discovery was also excludable under 18 U.S.C. § 3161(h)(7)(A) as the ends of



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justice served by the granting of such a continuance outweighed the best interests of

the public and Defendants in a speedy trial. To force a Defendant to trial without

adequate time to prepare would have constituted a miscarriage of justice. Therefore,

for purposes of the Orders, granting Defendants twenty-one (21) days in which to

complete discovery and file pre-trial motions (Doc. 335, 331, & 309), the Court notes

that the time from the dates of arraignment1 until the dates on which the twenty-one

days expired was excludable for purposes of a speedy trial.

                Should either party believe that a witness will be required to travel on

the Justice prisoner and Alien Transportation System (JPATS) in order to testify at

the trial of this case, a writ should be requested at least two months in advance.

                IT IS SO ORDERED.

                Signed this 24th day of May, 2010.



                                                        /s/ DavidRHer|do|
                                                        Chief Judge
                                                        United States District Court




        1
         The Court notes that Defendants Duvernay and Thomas Sellers were arraigned on July 30,
2009 and the twenty-one days given to them for filing pre-trial motions expired on August 20, 2009.
Defendant Teran was arraigned on July 6, 2009 and his twenty-one day allowance for filing pre-trial
motions expired on July 27, 2009.

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